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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                              SOUTH BEND DIVISION

JOHN F. BARNES, as Personal Representative of the                        )
ESTATE OF RACHEL A. BARNES, Deceased,                                    )
                                                                         )
                                           Plaintiff                     )
                                                                         )
                     v.                                                  ) 3:16-CV-00190
                                                                         ) RLM-MGG
JOHN T. BOYD, et al.,                                                    )
                                                                         )
                                           Defendants                    )


            HOSPITAL’S MOTION FOR SUMMARY JUDGMENT

       Defendant IUHLP Liquidation, Inc., d/b/a I.U. Health-La Porte Hospital (“the

Hospital”), pursuant to Fed. R. Civ. P. 56, says:

       1.     As to the Hospital, there is no genuine issue of material fact.

       2.     The Hospital is entitled to judgment as a matter of law.

       A supporting memorandum is filed with, and incorporated into, this motion.

       WHEREFORE, Defendant IUHLP Liquidation, Inc., d/b/a I.U. Health-La Porte

Hospital prays for judgment in its favor and against the plaintiff, that plaintiff take

nothing by the third amended complaint, for costs and all other just relief.

Dated: April 26, 2018                      /s/ Wendell W. Walsh
                                           Indiana Atty. No.1542-71
                                           Attorney for the Hospital
                                           MAY • OBERFELL • LORBER
                                           4100 Edison Lakes Parkway, Suite 100
                                           Mishawaka, IN 46545
                                           574-243-4100



                                                                     HOSPITAL’S MSJ 1
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                           CERTIFICATE OF SERVICE

    I certify the foregoing document is being served on all counsel by the court’s
CM/ECF system.


                                        /s/Wendell W. Walsh
                                        Indiana Atty. No. 1542-71




                                                                HOSPITAL’S MSJ 2
